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                                                                   ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                       DOC#:
SOUTHERN DISTRICT OF NEW YORK                                      DATE FILED: 12/30/2020


 XHEJNI SHKRETA,

                             Plaintiff,

                        v.                                    No. 20-CV-6134 (RA)

 COLONNADE MANAGEMENT                                                 ORDER
 CORPORATION, COLUMBUS
 PROPERTIES, INC., AND JOHN
 DIMURRO,

                             Defendants.


RONNIE ABRAMS, United States District Judge:

         On December 8, 2020, the Court directed the parties to discuss whether they are willing

to consent, under 28 U.S.C. § 636(c), to conducting all further proceedings before Magistrate

Judge Fox, and to inform the Court within two weeks as to whether they are willing. See Dkt. 15.

The parties have not done so. No later than January 8, 2021, the parties shall advise the Court

whether or not they so consent, but without disclosing the identity of the party or parties who do

not consent. No adverse consequences will result from the withholding of that consent. If the

parties do not consent to conducting all further proceedings before Judge Fox, the case will be

referred by separate order only for general pretrial management.



SO ORDERED.

Dated:      December 30, 2020
            New York, New York

                                                  Ronnie Abrams
                                                  United States District Judge
